Case 5:22-mj-O0005-MLH Document 1-2 Filed 01/07/22 Page 1of4PagelID#: 7

ATTACHMENT A

» Verizon =>

+1 (318) 402-2964

You dirtbag traitor
motherfucker, comma | need
your pussy ass to call me back
before | have your fucking
career. The meets not delayed
this week and there are some
things you can do for me since
you work so hard to fuck me...

 

Attachment A to Williams Affidavit - Page 1 of 4
Case 5:22-mj-O0005-MLH Document 1-2 Filed 01/07/22 Page 2 of 4 PagelD#: 8

e Verizon => 6:11 PM =

You dirtbag traitor motherfucker, com...

You dirtbag traitor motherfucker, comma |
need your pussy ass to call me back before |
have your fucking career. The meets not
delayed this week and there are some things
you can do for me since you work so hard to
fuck me over to make sure the right person
gets arrested for the felony she committed
on your base the one that you were sworn
you know to protect and uphold you know
your vows balls your obligations and the 1
you instead to just let go to rehab and then
mislead the local police or maybe that knew
who knows | still have to track down those
motherfuckers cause | tell you what you
weren't rude at all you were just a goddamn
lion coward bitch you couldn't look me in the
eyes but I'm used to that | mean you've said
a lot you know you don't mess up with
Hickman or bomb holes running around coal
could always look me in the eye did you know
hes my godfather general Cole you probably
didn't know that did you what the fuck made
you think is a 19 year old charging | ripped
your goddamn commander Those are the
type of tears that don't dry Because those
kids are innocent. Just like | was when |

 
Case 5:22-mj-O0005-MLH Document 1-2 Filed 01/07/22 Page 3 of 4 PageID#: 9

 

Verizon = 6:11PM =
You dirtbag traitor motherfucker, com...

returned from Christmas and got arrested for
the most heinous thing on Earth, you didn't
know this but that's the same thing | thought
against my whole life since my mother was
raped to entire childhood by her father and
other people toother people too. My life has
been about protecting women acting women
| broke the rules of engagement a million
times pulling my blood in 92 ona
headmaster's fucking skull after | found out
he stole the girl's laptop at the month of May
school and told them out loud that they were
inferior and incapable of understanding it and
then I'm gonna give him 3 days to bring it
back and you know | almost hoped they
didn't because every time they didn't | would
find out where their mothers and cousins
lived and | would take my M1A1 Abrams
platoon full of bradleys and wastness they're
called hunter killer teams you can look him
up on fucking YouTube since you've only
seen him in a fucking museum, but we would
just High speed, you might want to put a
workord around on your physical security and
your electronic countermeasures boundary
measures for static withdrawal. Do you know
what that is? You might need to Google that

Attachment A to Williams Affidavit - Page 3 of 4
Case 5:22-mj-O0005-MLH Document 1-2 Filed 01/07/22 Page 4 of 4 PagelD#: 10

ee Verizon => 6:11 PM Bl
You dirtbag traitor motherfucker, com...

just High speed, you might want to put a
workord around on your physical security and
your electronic countermeasures boundary
measures for static withdrawal. Do you know
what that is? You might need to Google that
too but why you're a cock you should know
what that means. The other thing | need is
those motherfuckers that picked me up at
the airport to keep acting like they were
federal police but they weren't they took me
to Shreveport jail up in some dark room
acting like it was gonna scare me and |
thought in there about just kicking the fuck at
every one of them and walking out cause |
could have but | like facing responsibility and
| wanted to get to the bottom of this cause
I'm feeling you're involved you never
returned any of my voicemails me my
voicemails. | called over and over and over
again I've got to go record it's all recorded
every bit of it all of your phone calls all of
your messages to all the other agents
everything with Christie every lie Utah every
lie you told | don't know how you're going to
come out of this unless you pull off
something When | say you could not be more
fucked you could literally not be more fucked

 

Attachment A to Williams Affidavit - Page 4 of 4
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